       Case: 1:17-cv-00377-JG Doc #: 435 Filed: 05/20/21 1 of 2. PageID #: 9167




                                     Nos. 20-4017/20-4018

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT



 DERRICK WHEATT; LAURESE GLOVER;                       )                    FILED
 EUGENE JOHNSON,                                       )               May 19, 2021
                                                       )          DEBORAH S. HUNT, Clerk
         Plaintiffs-Appellees,                         )
                                                       )
 v.                                                    )                       ORDER
                                                       )
 CITY OF EAST CLEVELAND, OH,                           )
                                                       )
         Defendant – Appellee,                         )
                                                       )
 VINCENT K. JOHNSTONE,                                 )
                                                       )
         Defendant-Appellant (20-4017),                )
                                                       )
 and                                                   )
                                                       )
 KAREN PERRY, Executor of Michael Perry's              )
 Estate,                                               )
                                                       )
         Defendant-Appellant (20-4018).                )



        The plaintiffs, Derrick Wheatt and Laurese Glover, move to consolidate these two appeals.

The defendants offer no response. The principal briefs have been filed in both appeals.
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                                      Nos. 20-4017/20-4018
                                               -2-



         The motion is GRANTED, and these appeals are hereby CONSOLIDATED for

submission to the court. Counsel for the defendants are advised to file any reply brief only on the

appeal to which it applies by deselecting the inapplicable case number during the electronic filing

event.

                                             ENTERED PURSUANT TO RULE 45(a)
                                             RULES OF THE SIXTH CIRCUIT



                                             __________________________________
                                             Deborah S. Hunt, Clerk
